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      JFFII{L\ R.VsLl’sIIUS                                                                                                                                             June 6, 2013
                                                                                                                                                                                    Page 3’

        1          Q         I)id the
                                    )oy                                                                            him he es                            ublic place. and I Iogtcall
        2       thderal rn’,est     non v                                                                  2       sug,estcd                            ssere sittIng there, and he said
        3          A I just tr kid to S                         I   ‘Sl,,r   c ak and                      3       twasok                            would meet us there,
        4       he sent it up o I.                                  and t    ir o mon                      4                                          meting on the MF station on K
        5       was that the though                                  let     C 0 inig,                     a       haghssa j                       r ad from his house a little ssays.
        6       hosseser, thes ltIn’t b                     i       risi      ii, tselt,                   6          QWh                            house that location?
        7       was criminal                                                                               i          A    Its                       it was prisate. It was not a
        8          Q Okay tin did s                                           i        C   outs        8           lot ot traf                      id it was a location that he knew
        9       oreriff about       arrests;                                                                       fairl we
       10           A On the arrest ss nm                            I r     mid ‘nfter               10                   It’                     ieticall, one road in and one
       ii       the judge signid it, I car                      S ( II            tilt     liner      11        road Out, I                        iihe to secure each end of the road
       12       Courthi use       d I call                                        In        tto       12        ssi    I       a ma’                     prosided the best opportunit,
       13        norm them t I e ha,                                irisi    rrar land                13                                               did not want to return to his
       14       asked them         assist                                                             14       Inni            hr an                   rCd made a nndco sasing that hi
       1           t) huttin.      isi,                                                                        ssas or. dci                            0 earning guns, and I just felt
       16           ‘i.   ‘\), I      tJnl I                                                          16        liii ogo                               use would spark an incident.
       17       p fldiflk and seiC ii                                              .0                 1            1< W1                               noose an alternate location,
       18          Q Okay                                                                             18        sucn as Er                            op I for him to meet with you?
       19          A IIowev r the                                                           rid       19            5 I,ik                           anted an isolated place where
       20       Si      e lIne ss  rut                                                                20       thrn isern                          ntrances and exits, where no one
       21          Q Vshod ouLr                                                                       21       could get                              issibh hurt if anything went
       22 eepartrnenO                                                                                 42        45;0fl.

       23   A It was r                       i of                                                     23           ) Yo                                  it he more dangerous for trim
       24         Q       Do yo              lucre                                                    le        toe me                                   itrol troop station?
       25          k      I lo&t             rra.,rr                                                  40               1        VSn                       wouldn’t have him go to

                                                                                                 if                                                                                 Page 32

        1         Q          ‘,   d th n 1 w c.                      mit I   ;;    it      JeIY,       1       Tm          p (        ,   I               md a half assa, I’ve only been
        2       tm
                too                                                                                    2       thn e once                                I ssould just have him meet mc.
        3         A I ‘aIim’                trim r                                                     3                                                ,mkhin Count warrant, t would
        4         Q Okay                    nod d.                                nCr”                 4       non malls I                                neet me somewhere in Franklin
        5    gum” to arrc                    1iin°                                                     o       Cm’nt a                        ii        n down   to the department.
        6       A ‘so, sir                  I (lid      m                                              6       Ok     ‘1                                 oneerned about your safety at
      I 7       Q ‘vkhyri                                                                              7 the ‘is at                                       hA station?
        8           I van                   Itot                             sot                       a        mi                                       rean, we were svell    we
                                                                                                                                                                                —




        9    know, going t                  at rest hr                       tin           that        , brought se’                                     \e had seseral, sou know, our
      10     he woul I war                    o ton  1                       ‘I u           ito       10       sat ‘I’. equ                             is and things. 1 he only thing
      ii     base an’ pr                      ems                                                     11       thin eance                                at da, when I spoke to Jeff on
      12            1 dli                   1    Is;                                1       10        12       fbi                                       I, and hi hadn’t been agitated
      13    in i iran nod r                 urn so r                                        lain      13       ft          line                           with him before.
      14    ti I r                                 in                            Ls        rsus       14                       lIe                         rout things that occurred. but
      15    donrprt               me         ,hn                                             np       10       hr              ,r’t                         I that dan he seemed agitated,
      16    irt          n ret              r,I.                                                      16                        1k                        Just tell trie, when you use
      17                  1 ‘tt’m            I     ‘                         n     j        st        .1       II          n     mt                      statemenis or hehas lors did
      18    sia    rant           arid       Lie fi                          lrr             dii

      19    hr n sell             r I        urn                                           I nat                                it                        rice, lie was talking real
      20    I           Lea        ;   in         n                                                   20       1                ess                      rid he, he    I don’t think he
      21          (<1    1                                                                            2.       0           ‘ann                          c he dion’t trust me, so he nsas
      22                     S     th            ml                                                   2.       o               Ige
                                                                                             1        2a                                                    c med about the presence
      24          5.     origin             Is si                                           ‘ill      24       (                p                           at this 0
                                                                                                                                                                    location
      25    ii   e0      iS it I             I S                                   4          ii)     20                       1 ss


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                                                                 Case No. I2AB-C’R02409-OI
                                                         )
    JLFFRL% K. ik LINHAL S.
                                                         )
               Defendant                                 )

     DEFENDANT’S AMENDED MOTiON TO DiSMISS TilE (‘IIARGE OF TAMPERING
        WITH SI DICIAI OFFICER FOR DEFECT 11% TilE INSTITUTION OF TilE
                                PROSECUTiON
           Comes now Defendant Jefire> R. Wemhaus. b counsel Hugh A. Itastwood. and states as

    his Rule 24.04(b) motion to dismiss the charge of        ranipering With Judicial Officer, Fe1on (
    RSMo. 565.084,   for   defect in the institution of the prosecution:

           This amended motion is filing to correct the record Since filing the original motion to

    dismiss, undersigned counsel has learned of certain pact misdemeanot convictions 0, Defendant

    (the mention of which before thejwy Defendant is moving to exclude in limine in a separate

    motion) This amended motion vimpl; corrects that issue but Is otheru Lw unchanged

    L     Judicial Tampering Charge

    1.    Defendant was charged in the Amended Indictment, inter cilia, with Tampering            ith

          Judicial Officer. Felony C. RSMo. 565.084.

    2.    Delendant herebs moves to dismiss that charge on the basis that as a matter of law his

          speech is protected Li) the First Amendment and does not rise to the IeieI of a reasonable

          threat to an3 Judicial Offici.r and thus particulars as it is colortul and unpopular

          political speech nes ertheles’ granted constitutional protection his speech cannot go to a

          jun.
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    3     Defendant also moses to dismiss that charge because the statements ssere conditional and

          in nanire and thu’ Hs a mattur of hie J n ‘t rise a’                 true   liii eat.


    11.   Facts

    4     [he acim reu alleged          is a       outubc s ideo published to the ssorld sside sseh on August

          I 7. 2012, featuring Defendant and entitled “Iul1etinman Rroadcast 8-16-1 2 The Parts

          Over \k ith    \ otc.’’    Ll’uiluh1 at

          http:ss\s\\outuhe.emaich:sjl\\Usl) I hLNX&list I lzc(JiO(micusCX

          j02ue&inde\ 7

    5     (l’here is also a second s ideo that does not feature captions. It appears trom discovery

                                                                     3 the arresting troopers
          that both sere reviewed h the State and both sere reviesed h

          whose probable cause statements               formed   the basis of Defendant’s arrest sarraiit. Since

          the second video, lacking captions, does not               mention Judge        Kelk Parker. any prosecution

          based on the second video lails as a matter of lass since there is no evidence to support a

          finding of’ probable cause. let alone guilt.)

    6.    ‘[he   T1tten caption on      the    ‘   outuhe page is:

                   ixplicit hut oh SO true. Bulletinman has had enough of the Insanity. ( onslitution
                   day is September 17th and September 14th will he the last day of’ the Defacto
                   Court. You all is firLd and sill he considered trespassers after that time. I’he
                   posser belongs to he people and x e got an eas 70% that say OU got to go. We
                   the People now realize just what a Ii’aud the Court is not univ upon itself hut the
                   (.onstitution. the People and (iDI) ;\liniehl\ No victim no crime. No justice no
                                                                           .




                   peace. K:io\\ JhSI. ‘S kno peace. Where the Spirit of the I.()Rl) is there is
                   I ihert

    7     Defendant begins the sideo with statements on sanious matters of public concern such as

          the poor   slate o   I   he eeonoi’ i and unernpIu naill
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    8.    The tideo thwatat. that the People alit tirC arinus Missouri officials including the

          State (‘nuns Administrator. elected Circuit Judges. laayers and policemen through a

          Redn.’ss and Resocation PetitioC on 9-1 l-2u12.

    9.    At 1:17 Defendant generally references corrupt oflielak and my right to blast sou

          motherilickers out of there if ae tune to. I don’t want to come doan to that. I really

          don’t.”

    10    At 2:04 he states generally “we hase the right to remose you use of force. Now. we’re

          not going to go out and kill you like you do other people

    11.   Defbndant states at 8.33 that ‘Tm being generous in a giving you a month to do it,’

          which the Court can infer to mean the time frame for the aboi c-described people to

          resign.

    12.   A text caption appears at 8:40 that cites Mo. (‘ansi. sec. 3. particularly as to the right of

          the people “to alter and abolish their (‘onstitution and form of government whenever they

          may deem it necessary     ...‘




    13.   Defendant then states at 8:50-9:10 that elected officials who resist will be arrested. tried

          by treason by a jury of their peers. and executed for treason and other crimes against the

          American people.

    14.   fhe idea is 9:38 minutes lang

    15.   Delèndant references a launiry list ofjudges. pro%ecutors. lass enforcement personnel.

          court clerks. etc.. sonic is itli particularity and sonic ssithout.

    16.   Nossherc does l)eiëndant himself orally state a thicat to arrest, try or execute any pemon.

    17    Particularls. nowhere doe’, i)efc’ndant stale ‘he    name   of Iudt’e Kells Parker of (‘rasiford

          Counts
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                               w


     18   Judge Parke(s nanie appears bnefly in a caption at 2.47. soim. six minutes before

          Defendan(s statements about occupying the court nouse and putting officiats on mat for

          treason.

     10   Other officials are named besides Judge Parker in a laundry list. les’emng to each of a

          reasonable speaker arid a reasonable listener that .‘udgc Parker is being singled nut among

          the allegedly corrupt offieiais.

    20.   The foregoing tiatures a caption stating ii1l of Rights o. presumably the Sixth Amend..

          U.S (‘oust.
    21.   At 9.20 the Defendant accuses the I. .5. government of killing 5 million babies, which

          the C oufl can infer to mean a reference to legalized abortion.

    22.   The video is pan of a recumng series of print publications and broadcasts issued by

          Defendant as a citizen journalist since 1906. Set e.g.. An. 1-B (Bulletinman pnnt

          publication), authenticated by Al I-A (flidavit of Judy Kropf). Particularly.

          Bulletinman videos have been broadcast on Youtube since 2009, al

          jifip. ‘wiwyoutube.com_user bulleugmaij.

    23.   The oeralI thrust and dominant theme of l3ulletinman publications and broadcasts are

          statements (oft expressed humorously and ulgarly) as to matters of public concern.

          particularly that:

          a.      Most Missouri eleetea oil icials including eeeted judges are corrupt and

                  subening the Constitution. and

          b       Ihe so’iereign People pursuant to the (‘onstitution ha’e a right to ‘lire” elected

                 officials. to try them for treason according to due process by ujurv of their peers

                  and to cwcute them if found guilty of treason.

                                                    4




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    23.    1 hc correctness or error of the Bulletimnan statements is irrelevant to this anals sis

    25     The \\ orid \\ ide \\ eb.    s   hich aiivoiie ma aeccs’ at ans time        tth an internet connection.

           is an archetspal public forum

    26     Defendant has no prior record of pros oking s iclenee directly related to his Bulletinman

           pub! icat ions

    27.    (On inldrrnation and belieF l)efendant has three misdemeanor cons ictions in Missouri:

           2003 liar harassment: 2006 br trespassing and a 2007 Suspended Execution of Sentence

           (SI S) for assaulting a policc. officer.

    Ill,   The First Amendment prohibits criminal prosecution of I)efendant’s speech

    28.    RSMo. 565.084 prohibits speech that souId threaten harm to a judicial officer or his

           immediate farnil insofar atThets ahilit of judicial olticer to carr
                               .                                                           Out   hi duties.

    29.    In context, a reasonable person cannot take I)elbndanFs speech to he a true threat or

           fighting ssords to Judge Parker

    30.    In the alternatise. in the totality of the circumstances, Defendant’s speech is protected b

           the First Amendijient.

    31.    The Free Speech Clause of the First Amendment                  Congress shall make no las...

           abridging the freedom of speech              as applied to the states through tile fourteenth

           Amendment can defeat as a matter of lass charges of tampering or harassment that do not

           constitute a true threat or a reasonable apprehension of harm              Sec. e g. State   ‘.   Wooden,

           \o. SC9284( Jan. 8. 2013             1 hat   i   particuLirE true in the context here sshere

           Defendant    is a citizen   journalist and hiogger ss tb a lone histor\ of liveis and sometimes

           o1finsis e   t statements
                        critica                aeainst elected    oti als,   but no record of s iolence
                                                                                                                           Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                                                          ‘S
                                                                                               (


     32    (first Amendment analysis of political speech of public concern is appropriate also under

          the free ‘.peech pta’ isiun at’ 1o. (‘oust., awl I. ‘icc 8 hcsuuns free speech right.’, track

          those of the federal Constitution.)

     13   Defendant’s speech is a matter of public concern, as determined by all the ctrcum’atanees

          of the case    —is peech on ‘niatters of public concern’.               .   is ‘at   the heart of the First

          Amendment’s protection.” Dun d Bradsireet, Inc.                    it       (Jreenmocs Builders, Inc.. 472 U.

          S. 749. 758-759 fl985) (opinion of Powell. Ji (quoting t7rst SaL Bank of Boston v.

          BeIloti4 435 U. S. 765. 776(1978)). l’he Firci Amendment reflects “a profound national

          commitment to the principle that debate on public issues should be uninhibited, robust.

          and wide-open.’ Any fl,rL times (‘a            it   Sullivan, 376 U. S. 254.270(1964) Ihat is

          because “speech concerning public affairs is more than seif-expressiorn itus the essence

          of self-government.” Garrison v. Louisiana, 379 II. S. 64. 74-75(1964). Accordingl>.

          “speech on public issues occupies the highest rung of the hierarchy of First Amendment

          values. and is entitled to special protection.” C’onnicL                it   Myers, 461 L’. S. 118. 145

          (1983) t internal quotation marks omitted).

    34.   Although the boundaries of what constitutes speech on matters of public concern are not

          well defined, the L .S. Supreme Court has held that speech is of public concern when it

          can “be fairly considered as relating to an> matter of political, social, or other concern to

          the communn’i.” id. at 146 or when it “is a %ubjcct ot general interest and at alue and

          concern   t   the p st’Iic” San Diego   it   Roe.   ç4    I   %   “‘.       83-84     ‘   statcnienCs arguabi>

          “inappropriate ur contrcn erial charaaer.. us irrele ant to the question whether it deals

          with a matter ol public eoncern” RanAin             it   McPherson, 481 1. S I’S 387



                                                         6
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    3i    to determine whether speedi is ot public or pu’ ate concern, this (‘nun must

          independenil’ examine the “cornem. Ibmi. and CL’flLC’.J. at the speech “as resealed by

          the a hole record.’ Dun & Bradstreet, Inc.           it   Graninoss Builders. Inc., 472 1 S. ‘49.
                                                                                                        .




          761 In considering content. form, and context, no factot is dispositie. and it is

          necessary to eialuate all aspech of th speech.

    36.   Speech deals ssitl. matters of public concern alien 1: can lie fair)> considered as relating

          to any matter of political. social. or other concern to the community       .“   (‘onnick. supra. at

          146. or when iris a subject of legitimate iiea’, interest: that is, a subject of general

          interest and of ‘aloe and concern to the public.” San Diego, supra. at 8344.             ccc (‘ox
          Broadcasting (.‘ovp.   i’.   Cohn, 420 1 S. 469. l92-4’4 (1975): lime. Inc.
                                                   .                                          .   I Till. 385 U.

          S. 374.387388 il 967). The arguably “inappropriate or controversial character of a

          statement is irrele’iant to the question whether it deals with a matter of public concern.”

          RankJn v. McPherson, 483 1 S. 378. 387 (1)87).

    37.   l’he content” of l)efendant’s video plainly relates to broad issues of interest to society at

          large. rather than matters 01 ‘purely pris ate concern. Dun & Brad.street, supra at 759.

    38.   While the tone of these messages may fall short of refined social or political commentary.

          the issues the ‘video highlights the American economy and unemployment, elected

          official and elected judicial corruption. abortion’ are matters of public import. l’he video

          broadca.sic Defendant’s statcmcnts on        thu’e   issues. in a manner designed to reach as

          broad a j uhhc tudience as iossible

    39    Judge Kelly Parker’s name appears in a pop up caption at 2:47 in the s ideo, sonic six

          minutes betorc me alleged threat made by l)efindant at 810-911) Lven if die video is

          vieaed as containing a niessape related to Judge Kdly Parker cpeciflcally. that aoukl not




                                                                                                                   “.3
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          change the fact that the o ci all thrust and dominant theme of 1)ekndant’s               \ ideo   spoke to

          broadei public issues than Judge Parker             I Lt is pdltieularl\ true a other as

          enforcement and elected officials are also          listed   by name in popup captions.

    40    Gien that l)efendarit’s speech ‘aas in a public ibrum on a matter of puhhc conCern, that

          speech is entitled to “special protection’ under the First Amendment. Such speech

          cannot he restricted merels because it is upsetting or arouses contempt “11 there                 is a


          bedrock principle under!> inc the First \nicndrnent,            it   is that the gos ernment mas not

          prohibit the e\pression of an idea sirnpl> because society finds the idea itself offensive or

          disagreeable      Texas v. Johnson, 491 13. S. 397. 414 (1989), Indeed. “the point of all

          speech protection       ...   is to shield just those choices of content that in someones eyes are

          misguided.    OI es   en hurtful.” Ilurtey v. Irish- lmerican Gat’, Lesbian and Bisexual

          Group of Boston, Inc., 515 U. S. 557. 574 (1995).

    41.   Nor can the State argue that I)efendant’s sideo must go to the jury because the speech is

          outrageous. ‘()utrageousness” is a highly malleable standard with “an inherent

          subjectiveness about it which sould alloss a jur> to impose liability on the basis of the

          jurors tastes or s iews, or perhaps on the basis of their dislike of a particular expression

          Hustler, 485 1.       S., at 55 (ii ternal quotation marks omitted). In a case such as this, a jury

          is “unlikely to be neutral with respect to the content of’ libel speech,” posing “a real

          danger of becoming an instrument for the suppression of                   “vehement, caustic. and

          sometimes unpleasanhtJ”e\pression Bose (‘orp., 466 1.                   5 at 5 10 (quotIng ew Iork
                                                                                    ,




          Times,    ‘6 1.   S at 270).

    42    Such a risk is unacceptable ‘in public debate ‘se1 must tolerate insulting, and even

          outrageous. speech in order to pros ide adequate breathing space’ to the freedoms
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          prutcetea b thc First Amendment.” Boos v. Barry, 185                  5. 312. 322 1 9
                                                                                              88i (some

          internal quotation marks omitted

    43.   What Defendant said, in the whole context ut ho\ and               here he chose to say it, is

          entitled to “special protection” under the First Amendnient. arid that protection cannot he

          overcome by a potential jury finding that the     t   ideu was outrageous.

    44,   The purpose of free speech is to invite dispute. even           here it incites people to anger; in

          fact. the provocative and inflammatory content of speech can potentially he seen as

          positive, Terminiello v. (‘itj of Chicago, 337 U.S. 1(1949) (Douglas, 3.).

    45.   “l’he Constitution is not neutral. It was designed to take the government of’f the backs of

          the people.”     Justice   William 0. Douglas, The (‘ourt Years at 8 (1980).

    46.   Defendant concedes that free speech does not permit “lighting words”, Chaplinsky v,

          ew Hampshire. 315 U.S. 568 (1942) (upholding
          1
          A                                                           conviction   for breach of peach where

          Appellant verbally attacked a marshal by shouting “you re a damned Fascist” in a public

          street).

    47.   But here, as discussed infu, we are dealing not with fighting words but rather with an

          alleged true threat, that is. sneech that would put a reasonahle person in apprenhcrsion of

          harm.

    48.   Under the totality of the circumstances       the lbnn. content and context            Defendants

          speech dues not objectively constitute tiahting       t   ords. nor does it   put   Judge Parker or

          anyone     else in   a reasonable apprehensior of harm h threatening          to interfere   with the

          performance oi .1 udge Parker’s judicial duties.




    LV.   L)efendaol’s speech in context is h perbole. no! literal
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     49    Ik&ndani’c speech is hyperbolic in tone, not literai. hyperbole is marked by the use of

           exaggetation as a rhetorical des ice or ligure olbpeech. It may be used to esoke strong

           teeliagi. or In create a strong impreccion. but k not meant to be taken literally.

     50.   In our tradition of criticism of public otlictals. this Court can take judicial notice that

           hyperbolic statements aganot public oflicials hate been routinely made both generalk

           and stith particularity but do not necessarily intend what their plain language states:

           a          In 2010. lormer Got. Sarah Palm (R S) produced a political ad putting certain

                      L ‘.S. congressmen in the crosshairs” and showing a map of congrcssional seats

                      with a rifle scope view superimposed and a list of the congressmen. .See Jeff

                      Muskus. Sarah Palbs’s I’AC’ I’ut,   Jun   Sighiv On Democrats .Vhe’v Thrgeiing In

                      2010. I Iullington Post. Jan 9. 2011. a,

                      http: sssnshjijngtonst.cQm 2010 03 24 sarnh-pahijpag-pjits

                      gQn_n_5j 1433.htmlt see thu (hibrielk (d(Iurd.s sva3 an Sarah Palm..

                      crocshcnrv map A ‘ialur; of viukni sords used again.si (;iye;rds. 5.1 Sentinel.

                      Jan. 9. 2011. available at http sww..san(raijeiscosenLinel.com’?r 1029fQ).

                  i.         I. .S. Rep. Gabrielle Giflords (1)-A/) was among those targeted by Palm’s

                             speech.

                 ii.         (;ur,r& was later shot by a mentally ill individual named Jared I oughner.

                             ssho subsequcnth pleaded guilty to sanou related felonies. i S      i’.


                             Loughner, I lcRlr11:u iD.Ai.i.

                iii           reasonabIe person would not believe Got Pal in ads vatted the actual

                             shooting of any congressman, including Rep (nlThrds

                is.          (ms.   Palm ha4 net er heen chutr
                                                         ’ed
                                                         1         ‘situ a   crime.

                                                       lii
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                                                                            (

           b.      Scierniiicah reliaNe and side1 accepted polling indicatis som. 29 percent ci

                   Arnericaiis think tha’ an armed reitlutiori it. order to protect liberties might 1w

                  ticeessar> in the next fe% years. ssith another the percent unsure. In light of such

                  popular ievs. Defendant’s speech can be read either as a hyperbolit

                  e’.trapolation of such a belief, or as a ‘btffement relerericing a popular sentiment

                  hut in context not as a direct threat 1’> l)cfendant to Judge Parker Se Beliefs

                  about Sandy lied Cover-I p, Coming Revolution I ‘nderlie Divide On Gun

                  Control, Fairleigh Dickinson Poll (Mar. 31.2013L available at

                  hap: publicnund.fdu.edu 2013 guncontrol

    51.    here. gien the lengthy history of l)efendant’s hyperbolic publications and bwadcasts

          against public officials, a reasonable person sould not vies the video in comet as an

          actual threat to try and then execute Judge Kelly Parker.

    52.    The particular reaction of Judge Kelly Parker to the ideo is irrelevant to this analysis as

           such a reaction is subjective and has nothing to do with (lie objection reasonableness ol

           Defendant’s speech.

    53.   It appears that the State conairs sith the foregoing, as it has not designated Judge Parker

          as a trial aitness. l)efendant has not designated Judge Parker as a witness either in his

          supplemented disclose to the State.



    V.    Defendant’s statements art conditional, and do not constitute a true threat under the

          subjectii ciubjeeth e factor’ of Din w’iddie anal sis

    54    True thre.tt’ dc not merit Fl-’.: •1mendmeni protection. Jizttc   it   United States, 194 1 S

          705 11 9O(I;.

                                                     it
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    55    In e’ aluating whether speech is a true threat, this Court must be guided by the multi-

          factor anal> qs set lorth by the Fighth           (‘ir:wt   in 1 abed Slain v. Dinwiddie. Te 1 .3d 913

          (Sth(ir 1996’). Ihefactoisinelude:

          a.        I he reaction of the recipient of the threat and of other listeners.

          b         Whether the threat was conditionai.

          c.        whether the threat “as communicated direetI                1
                                                                               t    its victim.

          d.          hettier the maker of the threat had made cimilar statements to the ictim in the

                    past. and

          e.        Whether the ictim mid reason to behee that the maker of the threat had a

                    propensity to engage       in   iiolence.

    56.   Dekndant’s ideo does           not   constitute a true threat under this anal>        sis.




          a.        Under the reasonable listener test I ‘aired Slain v. J.ILJL. 22 F.3d 82!. 827-28

                     kih (‘ir. 1994. given the entire factual context, the recipient                 of   the alleged threat

                    could not reasonabl’ conclude that it expresses “a detennination                         or intent to   injure

                    presently or   in   the future.”

          b.         the speeth was conditional

          c.         [he speech was not communicated directly to Judge Parker.

          d.         l)ekndant had made no prior speech directed at Judge Parker.

          e          Detendant had no propensity            to engage in   iolence. had    no     enminal record, and

                     ‘sas it n iewed as a dangerous percon by the Missouri troopers who e’cecutcd his

                     arrest warant.     &‘c    I)epo   of   Folsoin at 3PI’’
                                                                                                             anal’. st’    Ihe
     c        The conditiuiuliti oi’deft’n hint’’ speech is particuIarl important               to   tilt’


           court   can   reaunahIs surmie that I)efendant’              int:ntion   was not to intimidate           or    fnghten

                                                                ID




                                                                                                                                     It
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          Judge Parker but rather to make a political ‘datement to his audienc.e. I his intention was

          fairly clear 1mm the context Detenciant made the alleged threat tar purposes ci rhetorical

          hyperbolt rather than to intimidate, frighten. 01 coc te Judge Parker beyond what is

          allowabi pohtic .1 adocacy

    58    In contest I)efendant’s statements cannot reasonably be construed by this Court to

          purposely. knowingly, or recklessly intimidate or coerce Judge Parker. and a reasonable

          person would not siew the statement as threatening. Rather, 1)efendant’s speech

          promotes open debate and ‘igorous athocacy o’ier allegations ofjndicial corruption.

    59    (In the altematin. l)efenda a suggests that this Court can adopt the Ninth Circuit’s

          reasoning and require that the State prove beyond a reasonable doubt that Defendant

          intended his words or conduct to be understood by Judge Parker as a threat .See liaised

          Stases r. Bagdasarian, 652 I .3d 1113(9th Cir. 2011): 1 Wted States v. (‘anti, 408 F.3d

          622 (9th (‘ii. 2005j. Mere negligence with regard to the sictim’s understanding is

          insufficient.)



    VL    The Eighth Circuit splits with other circuits as to whether threats are to be

          evaluated objectively or subjectively

    60.   Defendant ackix wledges that the federal appellate &cuits are split on whether the threat

          is to be ealuated objectivels or subjectisely Compare Dinwiddie with Bagsarian with

          liaised Stases it Uhite, 670 1.3d 198. 12 4th Cir 20 2, with Tiuner. as discussed

          below

    61    Dde id mt ‘c ii... les that the I iphth ( ircuit in Dinwiddie ha’. held the reaction ci the

          recipient an he one of a multitude of lactors in analyiing the speech. Ilere. howe’ier,

                                                     13
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           Detèndai.t\ peech ‘as in a public (brunt and not a communication directly transmitted

           to Judge    Ke’ly P tier

     62    Indeed. Jadge Parker ought not to be able to tcstiiS at trial either, as his subjeeue

           reaction to the speech would prejudice the Jun as to any ohiecthe ci aluation          legalh or

           tactually     of   the reasonable listener’s reaction to the speech itself (‘sailed Stain v.

          J.IIJL,     .2 I .3d S2 1, 827-28 ‘8th (‘ir. 1994,. I he admission of recipient reaction

          testimony :s t’erly prejudicial because it may have a tendency to be overwcighted by’

          juries. 1 lw is true because members of a jury s ill trust the recipient’s characterwauon

          oer their own instinct. In addition, members of the jury are likely to be swayed by the

          emotional impact of the recipient’s testimony. Jennifer F.. Rothman, Freedom of

          Speech and Inst Threes, 25 Hart. J.l..& Public Policy 1(2001).

    63.    1 he Court can also find Defendant’s speech is not a true threat under other circuits’

          anal> ses Compare the Second Circuit’s recent analysis oftrue threats against federal

          appellate judges in Chicago in (i’S v. Turner, So. 11-1%-cr (June 21. 2013i.

          Defendant’s speech is distinguishable both under the facts of Turner, and under its legal

          tests for true threats.

    64.   The 1)efcndant in Turner published a blog on the internet. his blog posts included

          statements such as:

                  “Ohn the Constitution or die.”

          b.      I ‘w hlt’oJ oI’the thrxjudge wouid rep1enish the tree of liberty

          C.      I    ic iLJge.   “didn’t get the hint” sent by a gunman who murdered another federal

                  itJp     in Chicago.



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          d.       I hejudge% had not laced lilA!. free men tsilling Lii ssalk up to them and kill

                  them tar their defiance and disobedience.”

          e       I ‘ic rulinj on a particular case Wd% “w slewy and uniiing as to deserse the

                  ultimate response.” and

          I       I hat the judges ‘descrsed to be killed.

     os    ruer also pibted photographs, work addressts, and rooni numbers Ibr each judge. as

          well as a mario the courthouse ssheir they ssorked. and a photograph of “anti truck

          bomb barners” outsjde that courthouse.

    66    Turner had a history of links to iolent groups such as the Ku Klux Klan and Aryan

          World (‘ongTess, and at one point was an FBI informant as to his website isitors who

          shared their intentions to comnut violent acts (I umer was later dropped bs the FBI).

    67    1 urner’s viebsite resealed a history of statements ss ith threats against other officials.

          together witn threats to di tilge their home addresse and mention of 1w’ ing enough

          bullets to put them down too.”

    68    These facts are distinguishable from the instant case in that:

          a.     Weinhaus riner made reference to executing any particular judge (but for the

                 mos st’amed reading of a six minute lapse between a caption with Judge Parker’s

                 name and statements regarding execution tor treason).

          b.     \% cinhauc neser referenced other niuiders.

          .      \S.caqaus did not exhort others to kill Judge Parker with any particularity.

          d      einhai. neser posted maps or husmes nk’rmauon about Jud:: Pa-ker”

                 tou’t’   1,




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          e.       W cinhaus neter threatened to occup> an) particular courthouse, and indeed

                    occup3mg a courthouse” is merck chit disobedience and not a threat to comma

                   murdt.r iSgt. Poison vho attempted to arrest Defendant on September ,1.2012.

                   conaded there were at least three arnrthouses that Weinhaus might occup).

                  thew ore no courthouse isas aetuall designated with particulant. and conceded

                  that occupation itself can be peaceful). See e g   Lx   3 1 I)epo. of Folsom).

    69    The Furner ‘tn conietcd upon instruction (or a rue threat.”

    70.   A split Second Circuit panel affirmed the instruction and cons icuon on appeal. based on

          the tollo’saiii: factors:

          a        the “seriousness of the extended discussion of killing ithe,iudgcsl.”

          b.       I umer’s references to past aeb of ‘.iolence. particularl) the murder of another

                  federal judge in Chicago.

          c.       I umer’s past statements calling for the death of a federal judge. and approvingly

                  noting her subsequent actual murder.

          d.      Posting photographs, work addresses and maps for the threatened judges’

                  chambers.

    I     The Turner court also found that intimidation can constitute a true threat when the intent

          is to place the uctim in fear of bodil) harm or death, citing the I .5. Supreme Court case

          proscribing :ross burning I irginia v. Black.   51 I .S. 343. 36(1(2003).




    SIL   Defendant’4 speech is not incitement under the Brandenburg test




                                                   16
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     2      The I .5       Surr:me     Court ha% long distinguished inciternem from the mere athocacy 01

            the 11%   L.   lb   te   or ot’1as ‘ioldtion.” Brandenburg a Ohio. 395 U.S. 444.44941969)

            The Iornwr is Ilegal: the latter is First \meridrnent protected.

     ‘3.    To determine mcitenient. the proper                test is to look is hether the statement “is directed t’

            inciting or pr ‘due ing imminent          lass less action and is hId> to incite or produce st.ch

           action.” Id.. St t disC) Hen a Indiana, 414 1 .S. 105. 108-1)9 (1973)

     74    Incitement is        dist nguishabl: from a true threat. .Ww Yor4 a. reL Spitzo a Operation

           Rescue %at’l, 273 F.3d 184. 196 t2d (‘fr. 2001): 1 nlted Slain                  a   Howell, 719 Lid 1258.

           126(i 5th (      ir.   1983).

    75.    Es en langwte such as           that in   Defendant’s Voutube      broadcast. which migbt seem

           threatening.     is    protected under an incitement analysis if made in public as part of a

           political communication. See. e.g.. iSAAC’? v. Claiborne hardware, 4581 ‘.S. 886.902

           (1982) (aflording First Amendment protection to statements at public rallies threatening

           to “break th:j damn ncckls)” of those isiw broke a boycott of segregated retail stores).

    76.    Detëndaiit’b speech here in a public forum. the siorid is ide web, did not rise to the level

           of an “unequisocal. unconditional and specific expression(J of intention immediately to

           inflict injury” I nited States a Kelner, s34 F.2d lO?0. 1027 (2d (‘fr 1976). In that case.

           by contrast, tht ICelner Delcndant’c cons iction is as affirmed for the statement. “[W je arc

           planning to ..-a%$inate Mrs          Arafat   ...   eserything i
                                                                          5 planned in detail.” Id. at 1(125.



    VIII. Defendant\ speech does not constitute fighting words, and is factually

           distinguishable from Wooden
                                                                                                                 Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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     77        The \1isciui I Supreme Court recently affirmed eons letions       tiff   harassment under RSMo

               56.O9t P.1t2        and 565.09(1 Ii 5. where the I )efendant sent individual emaib. and letters

           to a St. I   Outs   (in alderwoman calling her a “bitch and a “Je’eber and threatening to
                                                                        -




           “go (jabuelli. (Jiffords” on her with a awed off shotgun” and “pop” her “cherry” like

           assassinated piesident John I. Kennedy. Staler. Wooden, No. SC92846 (Jan. 8. 2013)

     78.   Although the harassment crime in If ouden is disti,iet from udieial harassment under

           RSM’. 5o.’ s84. lir the purpose of anal> sis they arc ‘ubstantially the same. RSMo.

           565.090.112;: and 5o5.090. 1j5) require a showing that the threats put the victim in

           “reasonable apprehension of offensie physical contact or harm.” The judicial tampenng

           statute requnes the speaker s purpose to be to “harass. intimidate or influence a judicial

           officer in the perlbrmance ol such officer’s official duties.” Although the ‘how ing is

           diflrcnt. both. are essentially an objectise reasonable person standard as to the imminent

           harm or harassment effect of the speech.

    79.    In Wooden, tue Mo. Supreme Court rejected the l)efendanfs appeal on First Amendment

           grounds because, after a detailed factual inquiry into his speech. it found the speech

           contained words that, taken together, “through their ery utterance inflict injury or tend to

           incite an inn tediate breach ci the peace” and are not protected by the First Amendment

           or the Missoun Constitution. It at 6. quoting Chaplinshy, .supra. 315 1, .S. at 571-72.

    80.    DelendanCs peeeh here is factually distinguishable from that of Wooden in at least live

           respects.

           a         oo.:m %ent email’. direttl         t   the lderwi’man he threatened. lkl’endant.   in


                     conti    st   made his speech onli in a public forum (the world wide wehL in the



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                  conte’it of a regular broadcast and publication of Bulletinman, s hich cnttcwes

                  alle Cd oflicial corruption

          b.      4oodcn had no reputation as a hannless hut colorful political commentator.

                  Ikfa.dwit is a citizen journalist and Hogger. know n in Crawford County inhere

                  Judge Parkei sits) for his anti-government news. (‘ontext matters as to the

                  staten ent.

          c.      ‘Wooden made references to dusting olTa sawed-off shotgun. and that he was

                 going to make “a mess of eserything with his sawed-off.” Defendant made no

                 threats to his personal use of deadly lbrce.

          d.      Vooden retWenced himself as a domestic terrorist and referenced the shootings of

                 President Kennedy. 1. ongressnoman Gabrielle Giflbrds. and L I.S. l)istrict Court

                 Judge John Roll. Delendant references no other shootings or murders.

          e.     Wooden’s tone was maniacal and menacing. 1)efendant’s tone is hyperbolic, but

                 not menacing.

          £      \k oodeii lid a histor of serious criminalin. Defendant has none.



    IX.   The Court can take judicIal notice that Google has not removed the speech from its

          website, despite Voutube’s “Community Guidelines” and “Terms of Sen’icen”

    81.   Dcfrndant    $   speech was broadcast from the Ynutuhe sebsite. owned by (loogle

          lncnrporatta.

    82    Delendant s       eech is still posted publicis on the outube isebsite. at

          htjp ‘sssw       .utuht com’user bulletininan. Scc As   ‘    Affidasit of hugh 4 1 astwood.



                                                     iv




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     81     Voutube maintainc I urns of Sen ice’. Fr 2-li. available at

            jgjp   inns    3ou’ube corn   srntic?template tenns. and   .
                                                                           omrnurnty Guidelines .1 r 2   (.

            avallank at h’t’ ww.3outubc.eom I eomrnunilyjiuidelmes. for I owuhe uers

     84.    The Cornrnunit> L ,uidelincs include. inir alicr

            a.          I hings like predators helms br. stalking. threats. harassment. intimidation.

                    iimading privacy, rewaling other peopl&s personal infonnation, and inciting

                   others tocommitviolentactsorto’iiolatethc lermsofL searciaken sery

                   senously. Any one caught doing these things may be permanently banned from

                   i)u     i utw’

     85.   The I cnm a(ser ice include. inter aba. at b.l::

           a.      ‘You further agree that you will not submit to the Service any Content or other

                   matcnal that is contrary to the You lube Community Guidelines. currently found

                   at vains.youtube.com i/community guidelines. hich may be updated from time

                   to   t::ne. or contrary to applicable local, national, and international lasss and

                   reguations.”


    $6.    While Defendant suggests that the standard for a threat is an objeetrie one, he

           acknosi ledges that the federal appellate circuits are split on this legal standard (as

           discussed aNne,. and therefore il’this Court adopts a partially suliecusc standard, the

           continueu resace ol Defemjant’s speech on the \ outube sebsne suggects that Google

           and \ ituwlic di   hot   find Defendant’s speech to base siolated their “Community

           (iuidelmes md terms of Service.’




                                                      20




                                                                                                              ‘S
                                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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              \\ 111 RI! OR! Defendant Jeffres R \k einhaus mocs this ( ourt to SI. S I \I\ his

     motion   tu   disi iss ‘c cig nfl amperinf With Judicial Otlicer, I e1on C RS’vlo 65 U84 for

     defect in the institmion I the prOSecution. an that Defendant’s speech does not.

         I    Constitute a true threat,

        2     Put Judge Kelly Parker in a reasonable apprehension otharm,

        3. Constitute incitement, nor

        4. Incite an imminent breach of the peace.

              and fbi such other relief as may be just. meet and reasonable.

     Respectful is submitted.
    Attorney Ida Defendant



    hugh A. Lass/)od. 1Ii t 620
    7777 BonhorAae \senue, Suite 1603
    St. Louis, Missouri 631 05 1 9 TI
    heastwood a eastssoodlassstl.com
    Fax    (314)7274473
    Tel.   (314) 727 35$
    Cell   (314) 09 2,43
                                      (‘FR I’ll ICA 1 F. OF SERVIU.
    The undersigned ceitifies that on 9 03. 2013 (s)he sersed this document on:
    Robert E. l>arks. II
    Franklin Counts l>rosecutang \ttorney
    15 S. Church St Room 204
                        .




    Union, MO 63084


    I he metho (si of s s ace hs I .S. mail, first class
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                                     STAT F OF \flSSO Ri

    S lATE OF MISSOURi,
                                                          Cisc No. I ZAl(’R024Ut) 1


    Jl’FFREY R. WEINHAUS.

             Defendant.

                                    AFflI)AVIT OF JU1) KRO[F’

          Comes nov Judy Kropf and states Idr her Affidavit
                                                                    f this Affidavit.
     1.   My name is Judy Kropf and I am an adult capable of rnakin
                                                                  marriage was legally
     2.   Defendant Jeffrey R. Weinhaus is my former husband. Our

          dissolved in May of 2013.
                                                                      s of “llulletinman.” a
     3.   Attached as Exhibits 1-B are true copies of various edition

          publication written and produced Defendant.

                                                                   knowledge of “Bulletinman”
     4.   Through my fbrmer marriage to Defendant. I have personal

          generally and these representative copies in particular.
                                                                  in print fomiat and distributed at
          For the past 16 or so years. “lulletinman” was produced
                                                                         as an attachment to the
           various public places in Jefferson Count’. in Cra ford County
                                                                  anil. and in other places in
           “Bourbon Bystander” nex paper also pul-$ishcd b Defend

           Missouri.
                                                                    uted by m fomier huhand
      6    “Bulietinman” has also been created, produced and distrib
                                                                               and on Yomuhe at
           Defendant through the iritmet an the I3ulleiinmaneom
                                                                     \eFs1te


           http:.vww outuhe corn iser lulletinman.

      7    Further Affiant sayeth                                                       Dl FF\D\f’S
                                                                                               Exhibit
                                                                                                         Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                                               I declare under oath
    I hereh\ ‘.erii\ and affirm that I ha e read and understood this document.
                                                                                 ents in this document
    and under penalty of penury that to the best of rn knowledge all the stateni
    are true and correct.

    /
                                  -




    1dy Kropf

    State of Missouri
                             “S
    Lountv of St. Louis

    Subscribed and sworn before me this                        2013



    Notary Public
                                                                                                                                                                                                           Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                                                                                                                                                       I ‘S
 to         deed    t
                    fre
men,rencernberthatinnthe                          Btjlletjnman.Com                          -   314-800-3652                                                              Exhibit                     C



                                        kpage:
                                                                                                                                                        duc.e
    i,nsl choice. a soldiers




                                                                                                                                                        ‘rrts on the bend                 a wi
                                    Meanwhile back at the Ranch. In Jefferson Corint’, ttIi lunge Rouchard                                                                             arrd mesa:
 Downtown Deli                      aird lamnsy Berg           I’.  ukt:ig     rt  to.  Hate    or,     secrr    the   drug     cowl     conuact’.’ In your laOe cv:—
                                                                                                                                                    it comes in contact
                                                                                                                                                                                               is.
          Main and Boyd             det:ce that the (‘our is a fraud upon not only it self hut everyone who                                                                             Cheap Jr
                                                                                                     The    lurid   records      are   now     ruined    since the Recorders
              DeSoto                wtrl Our govcrnnrc;it is so screwed up.
     Sri Down orCarrv Our                Deeds    has    accepted        the  \IFRS        iilmgs     Do     you    rcaIl      believe    that    the  vote count is lir’ns?                  iran
                                    of
                                                                                                                                                         rigged In this day
Fresh sliced deli meat, top tier no If they are voting with anathing but papec ballots hand counted It can be
                                                                                                                                                                                                      1

  unk here Fresh    baked  breast               even     without       a  vigilant      County     clink.     Assessor,        personal      property      tax? Land tax?
                                    and age
  sandwiches, soups hot lunch                                                                              put    out   dres    irke   the   Constswtion         calls for. t lOt      ‘jP Road
                                    How about a sales ta to pave the roads and
                                                                                                                                                                                                     ,



   specials call 636-586-1977                                                                  function        in  the   capacit’,     rt was     created     for,   In protect                     Pr:
                                    a flat sales tax      out   government             could
          Mon-Fr: to 7
                                    and     niatnlain    our  God grseu rights. Keep praying. Have not lieaid front Chuck al,out his lot
    Sat 7-2 Closed Sunday                                                                                                                                  June 16th in honor
                                    next to the Courthouse. Though there was a protest at the Jail on Saturday                                                                         Bct’orL     ‘tO..

                                                     Kingerv        who     was    found      dead    iii the jail on Memorial Day morning at 3:30. Brad
    Spotted Horse                   of    Bradley
                                                                                                                                                                 JCSD would
                                    was 24 being held in I believe a failure to appear traffic related warrant, The
   Antiques & More                  not even      let  the  Mother         look   at   the   body    and    refused      to   turn    over his belongwgs. Now his
   200 S Main DeSoto                                                                                                                                                     to sire the
                                    brother is in thert on some 135! What is up with that? l’o top it off finding a lawyer
                                                              cit     is  impossible         without      a huge      sum    of   cash    upfront       In   Jeffiro   carpet
       636—586—6399                  Sheriff’s departm                                                                                              .




                                                                                                                                                                     the Court
 Oper Woos Sun Noon to 6            bagger lawyers arc coining down from the City and County to do business with
                                                              local      attorney’s       have    screwed        at  least    one   member         of every     family    in the                    0”
    Rcpubhc 01 Tea ‘tuas            because most of                                                                                                                                                 0’
                                                                                                                                                                     up cOccI is
                                     county. ‘The people arc flat broke, busted not to be trusted and now the trickle                                                                               ‘0
                                                                                                                                                                                                    0’
    ‘-lavens Brew CalIco                                                                                                                                        case that has
                                     starting to show. When people lose it all that is when they lose it ‘I’hcre is a
                                                                                                                                                               to get these peo
  Your One Stop Gift                 been going on in Jcffco for over ‘7 years hung juts once now they are frying                                                                                    01
                                                                                                                                                                          on law
                                    ple again based ott the testimony ofa 12 year old. T’hese Ihlks have spent $250,000
    Heartland Realty                 yers and the problem Itas not gone away. These charges should not have
                                                                                                                                                         even be filed in the                 Cv
                                                                                                                                                                                              U      )
                                                                                                                                                                        Now you
       50 Jefferson Square           first place. Secondly the lawyer they lured who said that became the PA in Seffeo.                                                                       0
     DeSoto 636-337-0600                       think    that alter      these    people      paid    Forrest      30   and    Brain     Hammond          20 thousand ttiat is,
                                     would
 Buying or Selling Real Estate thor “matter” would have vanished No it got to transferred to St Louts County and they
                                                                                                 .




    call Patty and her agents        went and gave the t           ag city lawyers another 50 and they still owe them 100 for a hung jury.
                                                                                                                                                           though the alleged
         TIIIiY SiMPLY               They are now lawyer less and broke, The matter has not gone away even
                                                                                                                                 one    who     took   her    to the police and
L         GET RESULTS                victim has changed             tier   story    at  least  three     times
                                     started the whole ball rolling was just picked up arid released after he was
                                                                                                                   arid    the
                                                                                                                                                             on Jeffco’s most
                                                                                                                                                             way the “system”
                                     wanted list. My GOD people you just can’t make stulilike this up. By the
                                                                                                                                                     was the accused
          T aiM 0 T l(yIE]           placed the trouble young lady mu) the home of the actual abuser who
                                                                                                                                                           and the Bulletin lies
 Athena School & Flucom off           brother. In short order! That is just one of a hundred stories I could share
                                         very  small     footprint        Sad     what    have    we     become?        ls  there     any   accou.titabilt     ty left? I fur one
             67 Desoto.              a                                                                                                                                                        1’     C.’
                                                                                                      arid    I      afraid     I’m   not   the    only   uric.   They that be
            636-337-5501              can not get any justice wider this system                                 ‘in
                                                                                                                                                                                              00
                    Paul &   Teny                      a  whoic      lot   more     than    they   that    he   with    therti     ‘l’hc  real   scary    part   of this is that
    You can   trust                   with us    are
                                                                                                                                                            killer’s under oath
    If it’s Broke they will fix It   there are certain people who are starting to figure this out who are trained
    If its not they will tell you!                        Coi:stitutinn       .  ‘l’hat   spells    ‘IROUBI.E           for   the   people     who    snake     a living under                Zo’
                                      to defend our
  Honear Mechanics axe Pneeiess                                                                                                  different      faces.   They      first stole the
                                      the color of law, In Crawford County same story though
       Cornpuier Diaostics                                                               and   on   May      23sd     the   “task    force”      raided    his   place    of busi
                                      election fiom Larry in Bourbon
     Safety and Emissions                                                                                                                                  Larry was selling                  <0”
                                      ness terroiizing the customers and children. This all went down because
                                                                                                                                                     not for human con                        cr0
                                      the incense that Sortie people use to get high even though it is labeled                                                                                cp
L_                                                                                                                                                 worth of inventory, com
                                      sumption and is 100% totally legal. They s’tole thousands of dollars
                                                                                                                                                            l’ltough keep in
                                      puters, cash, cashiers checks, and to top it all ott frose his bank accounts.
     General Signs                    rriind he    is  innocent       until   proven       guilty.    11ev      even    arrested      his   helper    for selling this                               ‘0
                                                                                                                                                                                                     so
                                                                                                                                                  going It’ tune1 how much
     and Graphics                       ‘illegal” product r..vtn though he never tool. airs mone What is it                                                                                          so
                                                            eniare’7        “too    the   tax  paving       r:trzeris    of   thrs   once     great   state    ire paving these
     306 S Main DeSoto                more must we
                                                                                                                                               eneniry is You have been
           636-586-9296               terrorist. Now is tIre fine to open your eyes sod see who the real
                                                                          brain    washed      into    thirkiri    g  that   the    USA     and    the police are the good
                                       l:ed too. dccciv ed and
        Banners-’I’-Shirt,s                                                                                                         Hack      masks     and carrying machine
                                      gays. I Late to to              v.ur bottle though tire ‘ne’ earrrrg
     All your Sign Needs                                                                              Would       you    please      put   aside    your    pride and open
                                       guns are your “trusted public servants”
            Printing too               vout eyes      realtzir.rr    that   the   devil     isa  liar.   The     enemy      has    come      in  like a flood though the
   “A sign of a good busi                                                                                                                   things. It is rn.y prayer for
                                       good new’s is that (dod c still in the throne and prayer changes                                                                                 63&475-7A
     ness is a good sigma”                                 awakening          to  occur      and   for   people      to  realize     that   out   enemy is within and cast
                                       another great
                                                                                                                     lore    (henri   all  let  GUI)     soil them oUt
                                       them out while fern is still time “c’ More I es’
                                                                                                                                                                                Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                                                                                                         5 t      S   meant by
        s car ous that poysrca courage
          be cc cJmrmn n the word a”d
                                4
    rora ccJaoe Sc ram        ak 1 wa-
      Lan-doe s doi.ci what cure                 www.bulletinrnan.                        Ofli          ;a or balanco In      oiOerto act you r-lcrrt tar
                                                                                                                             A,   reasonably          srbL mar
      nra’CI is do There ado be iv                                                                      ni’t’utmt insane                         ai
                                                           February 1             0I2                              5   SatIated   .trth thlflk’rrll
                        on’ teared
                                                                       -

        ‘nvsre unless                                                         “


                                                                                                      imacries C.ecca.actar
                                         Full upon the ROCK before th 45 ROCK foils on you
       ho’,’srd Vernon Rckenbaaker
r3pottec             Morie          Meanwhle, back it tne Ranch                    when           you
                                                                                               think’                     Heartlax1
                                        ‘here is no hope you et a call aim by GOD ‘OU 1401
    Art epiCs 5                        confirmation. Paul Curirnart the State Rep trarri House                 ‘



                                                                                                         50 aetferson Sqaure
        DaC S Main Dcso             Sponas I think it is district 105 calk me. ‘dv tirst words to
          03n-)&6-639St               tim was a simple       quesbon,
                                                                    are we doomed and he said         DeSoto Mc 636-337-0600
                                                                                                             Patty Hamrnord
      A Real Deal Awaits U           that we are. Whir confirms what I nave been writing in
    Over 35 be,ülers Povens
    Brew Coffee Repiabhc of
                                  I this BUll   ETIN. hut he     went onto tell me  that artickts of          Broker/Owner
                                      impeachment have been tiled aqamst a                                         McKinley Jewelers
    Tea Teas Gre C
         }bu and Mex3                  there has not been a judge impeached in Missouri since
       J?e.cale Mercantile
        920 (7ommerice!
                                           1960. Yea it has been 52 years since we got rid of a
                                                                                                                    Diamonds for Valentines
                                                                                                                         11$ S Main DcScto
                                                                                                                                                                  hi
                                        Judge in Missour but POul arid a levi artier courageous                                                                      We
                                                                                                                             okh8C-3342
           St Ctair Mo               reps have actually got an impeachment going it is number                                                                     Vinyl
          Mon-Sat 10-6             1 333 a Judge train Adair County              named      Russell    F.   Steele.     Internet        Service                  SilO    5cr




     iEFFO conUng                    We will certainly keep you up to date on this matter. Paul                       & Computer Repair                           314-f
      icily Insured, Concrete,    I is a former Maruc whu actually nonors his oath and loves                         Call Rick 636-789-9050
     Retainng Walls Flat Work,        this Country. though let me share this with you they are
        Natural Stone, Water              ew and far between in Jeff City. If you are a praying
                                          1                                                                              Kennedy Tire
                                                                                                                                                                          0
                Features                 person please pray for Paul arid all our State Reps and                         New and tlsed’fjres                              ci

          Dan 314-807-2570           Senators. Pray for the Sheriff and his deputies to wake up                       Ow’s 6’ Just South be CC                            ‘1
                                                                                                                                                                          0
   ViperTrailerSales                   and realitze that they are the instrurnen of oppression.                          Festus XXX-XX-XXXX                               C
       850 Corn merical Blvd          Should revival not come to the law enforcement commu-                               1206 ielegra Rosa                               rr
       Herky 636-475-7487               nity   and they   keep   on   enforcing     laws    that   are  in   direct        Airioid MO olOli
                                                                                                                              636) 4r7-Slclr                        (‘)I
        Utility Tra,ier Cargo         violation of the Constitution there will be a blood bath, If                                                                         S

   EncIoed Best Price Service 2         they keep     on  pushing    the   people    some      will  push    back.          Mo     Vet  OuUet                       0
         Twa     Carl5uys              When people lose it all that is when they lose it. I would Vets helping Vets in DeSoto An
                                            not want to :xs a member of the law enforcement                         Outlet shop where vor. will save                -Ti
     Treating People The Way We
          Want to Be Treated         community       or even be within 501) yards of a court-house. ( liii: same time helping those
    Hwy 67 Next Midwest 66 Festus       3 he American dream has become a nightmare and riot                             who have given so much
                                       every one Out there are like the Bulletinman. Most can’t
     KTPOWERSPORTS                      read much less write, the only thing they know how to
                                                                                                                          hast Main in DeSoto
               Exclusive
                                            do is shoot arid make bombs.           Most    of  the   American              bivison Jewe’ry
         Hammerhead Cart HQ
                                      people     don’t realize  that   we   wrestle    riot against flesh and                   Pawn Shop
      Motor Scooters. Mopeds
               4 Wheelers              blood but against spirtual wickedness in high places. Most                             Hwy 61 F estus
          228 N. 3rd Street            people don’t realize it is not the Sheriff or the policeman                           636 931-93?c.                          F-    0
             636-937-3298              who is driving biat car that pulls them over and that pulls                      Oet Your Sun’s 319 Pare
              Festus MO                    up to their house to evict them, It is a spirit that has
F     Dave’s 509 Liquor                 possessed     that body to do the works of the devil. Most                            Iced Lilac
                                                                                                                                                                    Zo
     W Main Festus Drive Thrc         will not pray, must will simply roll over and take                it.  Though        418 S. Main DeSoto
                                            there are a   tOw  who     will  thirtk  that   the   cop.   judge,         nOxt   to Town South Hair
       0000 Beers
                     .oca Wines
                                                                                                                      Offering Discounts anti Close
             636-931-5090              lawyer, banker ro the one who is carrying out this evil and                      Outs on Cosmetics, Health &
I                                         some will shoot them down. I for one realize that my                        Beauty Stop ri and check it out
          OUR Al) hERE
                                         problem is not a person it is tim devil and I have power                           HuridredsOf $1 items
          314-800-3652                 over all the power of the enemy. 1 nough Fm not of this                                 Call 314-402-e369

       Democrats av to God                 world. I may be in it     for   30W   though      I’m  just   passing                CAN-Do                                     ‘0
                                         ttirough,  The   ones   who    are   buying    all  the    guns    are not
     Republicans 7aLk dIrectly                                                                                           MAINTENANCE
       i-7nro bu: him owners are      buying them to go deer hunting or target shooting. They
                                             are buying [ilerin iacaiJse they no lsniger rrust the                            MR. Fix-iT
  3 hi Chosen People’ Rich Ford
                                         government      and  their   agents.    Boy   I m    grad that I’at on              BIG    OR SMAu..
      Ford’s Bait and Tackle
  k,i-235 Th64 Or The baric 1            tie right side rid no’ ou stealing front the well armed                             314-488-8123
        ‘°g Rater    debar 102            weak, poor arc unecucated mass of people who have                                     IN DESOTO
            pen 5 30 ru iv0u             Just about               lied asta           tnregonn to be.
                                                                                                                            Certified IRS
              Fast Returns
              Bjgor Small
                                                        COMPDTAX AiCUUN11NI                                                    E-Filer
                                                                                                                         Years of Experbse
          Debbie Does Them All
        _____             _______




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                                                                                                                 America’s state religion. Is
 All human actions have one                                                                                      patriotism, a phenomenon
    or more of these seven                                                       age                           which has convinced many of
                                                 B       ac          kp
    causes: chance, nature,                                                                                    the citizenry that “treason” is
  compulsion, habit, reason.                     www.bulletinman,com                                          morally worse than murder or
       passion, and desire.                                      Line 2d Z01C                                                 rape
               Aristotle                                                                                                 Witilam Slum
                                    Fall upon the ROCK before the ROCK falls on you
                                                                                                                            The Pet Care
                                            hile back at the ranch, Oh the dirty tricks and the
 Iliek’s Lakeside Grill Meanw spew forth from the JCSDi!!!The devil is indeed                                               Extraordinare
                                  lies that
   12202 State Highway 0                                                                                                & Personalized Pet
   On the way to Greyhawk            a liar. If you really wanted to be a criminal wouldn’t it                           Sitting Call Shayna
     Rocky Ridge) Daily            make sense to be a cop? Yea it would, you are on the
                                                                                                 taxpay  ing           _-2     53-1 292
        Lunch Specials                inside, Well let me share this with you the
  rrcsh Hot Pizza Delive    ry    citizen of Jefferson County          Missou  ri. You     are  being   ripped
                                                                                                                        Actions lie louder
        Closed Monday                 off and every dollar that you spend in our fair county                                than words.
                                    about 2 cents goes to the local not-seesthi Retired on
        573-483-3077
                                   Duty? Yea one .vrio has been with the )CSD since
                                                                                                          I can       A4iss Carries Treasures
      Pure Pleasure                 remember is LI) KEMP and I heard that he is proud to                                      636 586-0884
        Mega Center                 say that he is retired on duty! I called LD and he called                         ftnd of Surnity Orve 0ff 67
                                   me back. I ask him ii he really only showed up one day a
    aH your ovelife needs’                                                                                                     and Long Road
     North Truman Crystal                                                   that        is not  always     in         Purr Collec   lables-G!othes For
                                         week @ Hellsboro. lie        said         he
                                                                                                                           good    cause   Wed-Sat
                                    Hellsboro. He is mobile Now Ed wants to be your State
   The Best 4 Less Except                                                                                                a
             Sunday                                                                   of   them    there
                                           Rape oh I mean Rep. He is one                                                   Dave Messer                    Vinyl
   Down on Main St                  “Demoncrats” there are 45 elected oftices in Jeftco 44                                 Construction                  Sill. Sc
   Antiques-Collectables          are occupied by Demoncrats the other one is Republican                                   [)AVE. CAN 00 IT
         Resale Shop               but he appears to be the biggest turd of them all Darrel                                 (336-9310705                  5158
      Downt   own    DeSot o        Missey is his name and he is a corrupt judge who allows
           514 S. Main                child molesters to live in apartment complexes and as                          Ram Tire & Wheels                   Jmptrti


          836-586-7066                 now sent     the   Childr  en  which   were    molest    ed  by   their        Just south of CC on 67
                                        step   father  to  a  place   called  Epwor   th were they are                 New and Used Treads
 Viper Trailer Sales
                                    molest    ed  on a  regular    basis. Tim Miller is the girls lawyers              Call Mel_ 933-9878
     850 Commerical Blvd                                                                               •p
      I1erk 636-475-7487                 and he is in on this child slavery ring as well.
  Utility Trailers We Got Em
                                     people folks are beyond corrupt I could sit here for the                              Card Corner
                                    next    five years arid not be able to share with you all the                        Sport/Gaming Cards
   Best Price Good Qualir.v
                                      “horror” stories that spew forth from the Synagoge of                               Comics all kinds of
   Need Paintin-Oeisirating?                     Satan’s local branch The Courthouse!!!!                                      63&933-0999
                                                                                                                                                             (I)
    Contract a Prrilessiniial
                                     Misery is created there on a daily basis and it is going to                            106   Main Festus
                                      cease and desist as long as I’m alive I will expose these
      Jimmy 3l4-277-ll3            evil doers and run their ass out of town, The whole                       point       I) wigh I Spurgin                   -J
              -sh&Lc2                   of a free press to tell the people just how bad their                               Glass Painting
                                                                                                                                                             -J
         jin fees                     government nas become! listen I love my County, city                                 l’ronio     Windows               LU
           636-678-3102                and country enough to tell the people the truth. Our                                    ys,    Hand    Painted
                                                                                                                      Holida
                                          elected leaders take you all for fools. Dumbass self
    Dave’s 509 Liquor                centered people who are only concerned                     about   getting        Signs     lie!!   even  paint
         W Main Festus               laid and where their         next  high  is  going    to  come    from.    As               your    facel
                                                                                                                                                             C
            Drive Thru               Long as the check IS there everything is a ok. ft won’t be                              636_633-3600
         636-931-5090                knKJ until the payments that silence tlxt masses run out                             bovison Jewelry
   5pottcc llorsc                         It won’t be long until the People realu’e that there
                                     country is being stolen from them.              It   won’t   be  long    until            Pawn Shop
   9
   An
   u es t Morc        &
                                     the Billion rour    uS   of  Ammo     that  where      bought   in   the   last         Hwy     6! Festus
       200 S. Main Desoto               year start coining out of the 10 million guns that were                              636-931 9325
      Bigger and Better                  bought as well. I really think that “they” have no idea                              Get Your Gun’s
            More 1iiom                 just what da.iger “they have put themselves and their                                     Buyirwj Gold
                         2010          ROOt pitiful frirniilies in I feel tie Rising Force
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                                         when it comes my goodness. The lkhting                      gowig to                              Tire
    Pams Monogram &
                                      strike and “they” will never know what hit ‘thenY’ JAH’s                                   Serv    ice
       the Hobby Girls                    judgeinent is coming and in one how this country is
     325 House Sprigs Pls.a                                                                                                   You ned a
                   and Crafts for         going to change overnight it will be all over Are you                              (a116   36-’07-4S0>         ‘635—41
     En,broiderv
                                          ready to meet JESUS. Every knee will bow better to
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            u.36-375-’HOU                        bow now. fodayj,he day of salvation!!!
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 ‘Vi ignorant person is one who
doesn’t know what you have just
           found OUL
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              Will Rogers
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                             Meanwhile back at the -anch, ow name stays the same                          Pure Pleasure
    Barn’s Bar             now tell who is thc one In bianie   2 My lame is Tlulletinman
        iiwv-UC-DD           and I’ve come to set the captives free and preach the                        Mega Center.
     I3etween 55 and 61     coming Kingdom of Jesus Christ. To expose, identify and
                               destroy the works of the Devil. I may not he able to                        Simply the Best
    Great Drink Specials
   Live Entertainment on     predict     my  demise    but    you   can   bet  it won’t   be  on  roy   Lowest     Price Largest
          Weekends            knees, Defiance to Tyrants is obedience to GOD This                                Selection
     Call 573-483-°005
‘\Great Time All the Time
                            Beast has become a Tyrant. If you haven’t figured it out
                              be now, we be the [Toast. America is still controlled by
                             Great Britain    ann   is about    to lx’  sacrificea   so  that  a New
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                                                                                                               Crystal
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 AD HERE 314-800-3652        V,orld Order will arise out of the ashes of America. Now                     Miss Carries Treaires
       K-JEFF COM         the way I read the Book the KIV Authorized Bible. He that                             u36—586-0684
 BULLETLNMAN. COM              lerteh wiN let until he be taken out of the way. In a                     End of Sumdt Drive Off 67
 Contact we about Govt                                                                                           and Lang Road
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        Corruption                                                                                        Fern La I lectuble.s Clothes
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ALL OUT WIILDLIFE believe is Prince William and he makes Barrack look like a                                  DAVE MLSSER                        VlnjlI
                                                                                                              CONSTRUCTION
       CONTROL                  pimpling idiot. It all goes back to England and their                        DAVF CAN E)o iT                    Sill Scii
  ANIMALS YOU NEED        minions here in America are the lawyers. I he court and its                         636931 0705
                          officers are on a mission to separate you from your mooney,                                                            51585
   GONE’ CALL DAVE
    2410 636-368-556”
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                             your family and all you hold dear. The awyers are ri bed                   Ram Tire & Wheels                       Impfrtal
                             with everyone aid they run the show. Isn’t it time that                    Just south of CC on 6’
                               we do sometLng about theni. I’m all for a peaceful
    Viper Racing            exodus from the promised land. We can give all members
                                                                                                         Now and Used Treaini
                                                                                                         Call Mel :tt 933-9878
  850 Commencal Blvd      of the BAR (Flritisri Accrediation Registry) 48 hours starting
   Herky 636-475-747      on September 17th to leave the country. If they are still in                                                    DISCOVER A ama

                           the country they will be rounded up, tried, convicted and
                                                                                                            Card Corner                   5,,   yourui    ,, a


   Go-Karts-Mopeds                                                                                                                        ,*,o,eS       S,d ,


                           executed. They along with the cops, politicians and other                       Sport/Gaming Cards             ,er,Oobty
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                          accomplices will be brought up on charges. By the people.                        Comics all kinds of
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   WhultisI Tei     Tri       You   see   it you got   rid out    of the   judges and      outlawed            636-933-0999                     ow. marykay.

          Products        their   little terrorist cult  we    could   rid  America    of  %
                                                                                           90    of the      106   Main Festus
       636-9314)333             evil. We can ship them sill back to England or Israel. Most
                                   of course will end up iii Isreathell, thougri the love of           Shoppers Paradice
 Broken English Rocks           money isn’t a racial or serTiite thing. It is universal. Though         Leodington Free
  brokenengllshstL corn         being a Jew by blood it is hard to over come. I find myself                                                                   may
                                                                                                          Outside Set-Up
  Dave’s 509 Liquor             very tight fisted at times and I know better. My eyes are                                                          cvci-
                                  open arid still i don’t give what I should. Greed is not               Davison Jewelry
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                                goodt Ewe and it shall lxi given. You see iCs about giving.
                                                                                                                                          910f9                  01
        Drive Thru                                                                                          Pawn Shop                                      Silo.
                                Generous Jeff is what 1 want to be known as, not Greedy
      636-931 -5090                                                                                        Hwy 61 Festus
 Do you relaize that your tax
                                      Grant. Or Teflon Ron, Or Cold Be llyenas, or Kurt blown
                                    away in the breeze. Wily screw over your neighbor  2 Your          636-931-9326                      (1O1 I
 dollars pa the salaries of little
  Nazi i no go around kicking
                                         brother! hey I remember the quote My loathings are            Get Your Gun’s                     U’I’v
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    andma’s Out of homes and                                                                              Angel Nail’s
                                           Vladimir Nabokov. I bet you Ronald and his thieving
  won’t do anything   about the    children like Perry Como and Lawrence Welk, though 4 out            Ne    IcaLinn Across
theft of property of the elderly of 5 isn’t bad, Mel from Rain Tire wanted roe to mention                  From Sam Ogle
 Shamc on yea for shopping in           the Judas Priest show Went to see the Priest g the                 llair’Nails Ian
            Jeff County             Fdmily Arena ann they wi’ere amaiinn very loud and hard
          Four W,ndi                  Brought back a lot of memorIes and thoughts they did
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           n36-58o-55e3               or’ you tube as well. I try to post something new every               3 14—lOl-”373
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    S’IATF 01 \1ISSOURL
                                                                   Case No       12 \B-CR02409-01
    v.

    JEFFRE R. WHNII \US,

                  Defendant.

                                         AFFiDAVIT OF’ lit CII A. EAS’1’ 001)

                                                             Affidavit:
               Comes now Hugh A. Eastsood and states for his
                                                            capable of making this Affidavit.
     1         M name is Hugh A. East nod and I am an adult
                                                                ly, true copies of the Google YouTube
     2.        Attached as Exhibits 2-B and 2-C are, respective

               “‘1 errns of Service” and      “Cominunit   Guidelines.”

                                                           tidc \4eb on August 5, 2013.
     3.        I downloaded these documents from the world
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     4.        At that time, Defendant’s You’I uhe s ideo of Aug
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     5.        Further Affiant sayeth not.
                                                          rstood this document. I declare under oath
     I hereby verify and affirm that 1 have read and unde
                                                        kno1edge all the statements in this document
     and under penalty of peijury that to the best uimy
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                  affirm that you are men the age of TA, as the Sr’rar-e          not r’er dccl for ctnrldnerr under ‘3 If you are under 13 years of ruge,
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                   13. Assignment
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                             We Enforce These Guidetine

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                                                           I’ r anklin Coo ni. ‘sit) ‘so. I                                                                      Jun 6, 2013
      ST FE OF MISSOI RI v
      JEFFRE R. WEl”diAt s                                                                                                                                                       Pac 3’


                                          I)o 5
                                              ‘
                                              o u know what the results of the               1           him he even said a public place, and I logically
                  Q        Did the   -—


                                                                                                                            we were sitting there, and he said
                                                                                             1           suggested that, since
       2 iederal irn estigation was’                                                                                      he would meet us there,
                                                             k and                           a           it was oka, that
       3       I just talked to Special Agent Maruseha                                                                                                        ‘sIt’   5.   Station on K
                                                  and their opinio n                         4                     So we ended up nieeOfl Ott thu
       4 he sent it up to his S\(’ in St. Louis.
                                               to  be threa tenin g,                                             as just up the road from his house little w a’s.          a
       5 was that the     thou ght the  video
                                                    video in, itself,                                         (I Why dtd sou choose that lULatiOt’,’
       a howexer, the didn’t believe that the
                                                                                             7          It x as public, it was private. It ss as not a
                                                                                                               A
       7         was criminal.
                                                                                             a lot of  traffic there, and it was a location that he knew
        a          Q       Oka4      And did ou notify the FiankIn ( ounta
                                                                                             9 fairfs    well.
      • 9 shenff about the anest ssarrant°                                                              It was also. tactiea1l, one road in and one
                                                   ied, alter                               10
       lo   A On the arrest warrant, S Cs. I notif                                                                                    each end of the road
                                              tairs outside the other                       ii road out, I would be able to secure
       11 the judge signed it. I came downs                                                                      unit,      pros ided the best opportunity.
                                      the  sheri  ffs department to                         12 with  a  marked         soil
       12 Courthouse and I     called                                                                                                              n to his
                                    obtain ed  an  arrest warrant and                       13          You know, and I did not want to retur
       13 inform  them that we  had                                                                                                              sldco sasang that he
                                                arrest.                                     14           house in any ssay. because he’d made a
       14 asked them to assist inc in the                                                                               con four, and carrs aug guns,  and I just felt
                                           the  arrest?                                          5       a as on death
       is    Q Did they assist you     j

                                                             r calls                         16           like     to go hack to his house would spark an incident.
       16          A ito. [hey stated that they had othe                                                                                                          n.
       17        pend ing and were not avail able to assis t me,                             17                 Q Why didrit ‘xOU choose an alternate locatio
                                                                                                                                                            with coo?
                                                                                                                                    I
                                                                                                             such as droop C’. or roop   I for hrn to meet
                                                                                             19
       18           Q  Okay
                                                           ahead and                             s              \ I .ike I said, w t’ anteti an isolated place a here
       19           A Jioweser, they felt like I could go                                                                                                        one
                                            own.                                             20              thereweren’t a loi of Cntranees and Cxits, where no
       20        serve the warr ant on my                                                                                                         if anythi ng went
                                                                                                             could get could be possibly     hurt
                    Q Who did you talk to at the sheriff’s
                                                                                             2]
       21
                                                                                             22              wrong.
                 depanment°
       22
                                                                                             23                 Q  You think would it be more dangerous for him
       23           A It was one of their majors.
                                                                                             24              to come to a highway patrol troop station?
       24           Q Do you remember his name’?                                             25                 A Well, typically, I wouldn’t have him go to
       25             A       I don’t remember his name.
                                                                                                                                                                                                -1
                                                                                                                                                                                      n
                                                                                                                                                                                      0 45 32
                                                                                 Paqe 31)
                                                                                                                                                        tjnl been
                                                                                                               C, that’s an hour and a half awas, l’se
                              And then how did you make contact with Jeff,
                                                                                                     1        Iroop
                      Q                                                                              2 there once in ms   career, I would just base him  meet me.
            2     tOo’
                                                                                                              Sluice it was a Frankl in Counts  warrant. I would
                                                                                                     3
                       &      I called him on his phone.                                                                                   somewhere in Franklin
                                                                                                     4 ruormnalls have the people meet me
            4         Q       Okay tend did you tell turn that von v crc                                                      them   down  to the department.
                                                                                                     5 County and take
            S     going to arrest hun”                                                                                        you  concerned  about your safety at
                                                                                                     6     Q   Okay.    Were
                       A      No, sir, 1 did not.
                                                                                                              the gas station, at the MFA station?
            6
                                                                                                     7
            7          Q      Why not?
                                                                                                                 A Initially, no. 1 mean, we were well
                                                                                                                                                            we                   --




            8       A I wanted to not tell Jeff that I was, you                                                     firearm  s.  \4e  had  seseral , you know, our
                                                                think that                        9 brought seseral
                  know, going to arrest him, because I didn’t                                                           ivith  us  and  things.   The only thing
                                                       or I didn’t want to                       10 safety equipm  ent
                  he would want to  turn  himsel f in,
        110                                                                                      ii thai concerned rue was that
                                                                                                                                    da. when I spoke to Jeff on
           11     have any problems with that.                                                                                  d,  and  he hadn’t been agitated
                                                                            to                   i: the phone he was agitate
            12           I felt like if I would come up with a ruse                                                    I dealt    with   him before.
                                                  equipm ent, I could explain                     3 the times  si hen
            13    meet him and return some of his                                                                     He was not happs about things that
                                                                                                                                                                 occurred. but
                                                                                                 .4
                  to him in person that I had an arrest 1’, arran
                                                                   t, cr505
            14                                                                                                                            and that  ila’, he  seemed  agitated.
                                                                      gi’tticig                  is           hi’ (l(drt’t seem agitated,
            15    doing it oxer the phone and possibl. Ou know.                                                                    Can  you  just  tel]   me,  when  you   use
                                                                                                 16                Q    floss so
               into more [roil hIs’.                                                                                                                 behaviors did
                                                                                                               the word agitated, what statements or
            16
                                                                         t
                      Becanse if i’d of told him there’s an arres
                                                                                                 17
            17
                      t, and mat) e he’d tr to flee the  area, or barricade                      18
            18 warran                                                                                                                                         ng real
                                                    so 1 just told him thai                          19           A Just his tone of voice, lie was talki
            19 himself, or do a number of things,                                                                                 curt, and he, he--  I don’t thiuk he
                                                                                                     20        fast, lie was real
                   I needed to meet th him          to   gis C him his computers hack.                                                                    me, so he was
            20
                                                                                                               trusted me, and he told me h  didn’t trust
                                                                                                     21
            21          Q      Did you believe Jeff was dangerous
                                                                                                     22         on edge as well.
            22                 At that point, not really.                                                                                    50.. r’u’see ,dout                the pr(’senc
                                                                              PCi I’’                2               ‘)   QL,j’ • Were
            23            Q    Okas And where did you arranec (                                                                          fuel pumps at ‘bu      location
                                                                     has him                             4     at gas         rrnmnps,
                     & Originalh we bad, we had set up to
                                                                                                     -




            24
                                                                                                                     \    I   ‘s asn’t   initially. becausa
                           at the M F’s station , ho is es er, when I talked to                      25
            25     meet us
                                                                                                                                                                  DE1T\1)\T’S
                                                                          C   ((Lilt   Reportinmt ‘sSSOC iates
                                                                                                                                                                     Exhib ii
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   slIl 01 MISSOIRL                                 )
                                                    I
                                                    )      Case No. 12A8-CRO2 109-01

   JL FFRL Y R WLINH4L S.                           )
                                                    )
             Defendant.                             )

                        DEFENDANT’S SECOND MOTION IN LIMINE

         Comes now Defendant Jeffrey R. Weinhaus. by counsel I lugh A. East’wood. and states as

  Defendant’s Second Motion in Limine:

         Any mention of the following items before the jury would (a) deny Plaintiff a fair trial.

   b, be inadmissible for any purposes. and cj cause improper prejudice. wherefore Defendant

  moses the court to prohibit the State from either mentioning or referring to the following items in

  voir dire, opening statement, examination of witnesses, presentation of evidence, or closing

  argument, or at any other time in the presence of the jury:

  I.     Contents of Delendant’s ear shotgun and handgun. [he troopers recovered a shotgun

         and a handgun from Defendant’s car after they shot Defendant Those two weapons

         stayed in the ear after Defrndant exited the car. 1 he troopers’ own testimony to date

         indicates that the used a ruse of returning seit’ed computer equipment to lure Defendant

         to thc gas station to sene at arrest warrant. I he recording of Defendant indicates that his

         state of mind was that he believed the ruse, in that he triumphantly declared that he had

         ‘won” and that his seiied property was being returned. lhere are no charges inwhin&

         unlawful possession or use of the shotgun and handgun. I here is no collateral es idence

         of bad intent by Defendant. \ ci the State wants to argue Defendant was “loaded for
                                                                                                               Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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          hear” and intenued to use an arsenal of        eapons anainst the troopers .1 he NhotCull and

          handgun in the       at   ha e noti ng to do   ith the attempted assault and re’usting arrest

          charges against Defendant. particularl as they sere unkno\\n to the troopers until long

          after they shot Defendant. I he prejudicial effect of allo\\ ing the Stale to present

          e idence of the shotgun and handgun is o er helming. but the probati e ci Lct is lo\\

          and misleading.

          Granted                   O’ erru lea

   2.     Defendant reser es the right to mo’e further in I/mine based on the State’s proposed

          evidence at trial.

          WHEREFORE Defendant pras this              Court   SI. Si 1
                                                                    UN his second motion in limine, and

   for such other relief as ma be just. meet and reasonable.

   Respectfully submitted.
  Attorne\ for I)efendani

      JJuh A. Eastnood
  I lugh A. Eastood, MH1, # 62058
  7777 Bonhomme Avenue. Suite 16u3
  St. Louis. Missouri 63 I 05-. 1941
  heastood aeastoodlavstl.eorn
  lax     (314)7274473
   Id.    (314)727 3533
  Cell    (314) 809 2343

  So Ordered,




  lion. Keith M Sutherland, Circuit .1 udge

  i)ate

                                     Cl R Ill 1( \ 11 01 SI RVI( I
  I he undersigned certifies that on September 22. 2013 (s)he ser ed this document on




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                                                                                           Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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   Robert I Parks. II
   I ranklin Count Prosecuting \norne\
    15 S. Church St. Room 204
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                                  IN 1 11 (‘IRU 11 (‘011<1 01 iRAN Ri IX (01 N                                                   m
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    S I A IL 01 M1SSO( RI,
                         PlaintilL                                  (‘ause    \i.          ,\ B-(’R024(      l)


                                                                    1)rsision No.
                                                                    jt,j,c.    Nuther1ri;
    Jellery R      \‘   cinhaus
                                   I )e fl.ndant

                                             STATF’S MO [ION IN LIMINF. I

                                                                                  es Robert 1.
              (‘OMLS N0\\ the State of Missouri. tv and throuoh Prosecuting Attorn

                                                                              detendani. arid delinse        e. i1rrcses   dar rue
    Parks, and moves that the auornev for the defendant,               tIre


    voir dire, openirw statement. presentation ol’            .   idence and final areurems be instructed ret               to


                                                                                                                or
    menlion or he permitted to elicit testimony either directly or indirectly by                   question          comment



    the follossing

    That defendant is the ‘ic1im of a crime in this case and not the defendant.

    Defendant has signed seseral documents tiled sirh the uurt                      as   deldicunt   \ ft inn        i)ulcrJa::1



                            of an’ crime as charged h\ the State in this            cause. \‘ ictirns in   this cause are I he
    is   not the   victim


    State. Judge Kelly Parker Sgt Folsom and (‘p1 Menden

                                                   Respectfully suhm’ ted,


                                                   Robert I       Parks 6J
                                                   Prosec.otng A[torne\
                                                   ( ount’     ‘1 1 ranklin
                                                   I   mon.   Mrssourr (y30d4


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    this is to certi1 that a cops of the above and ftregoing ssas hrnd
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    Court (fl prrl 2 2(1
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                 I)ctend.ni,
                                                                       I
                 l)EF I2\1)ANT’S OPPOSITION TO STATL’S MOl ION IN LIMlN

           Conies n [)eldndant JcIYrc R Weinhaus.               [rt   counsel I lug0 \. hast\\ ood, and states as


    his Opposittun te Siate’s Motion in Lmnne.
                                                                               to himself as a
           Uhe State has rno ed in limine to exclude Defendant Iroin reherring

           \‘jCtifli.

                                                                                lii. lolsom are the
    2.     l’he basis ut the Statc’s motion is that Judge Kcll\ Parker and Sgt,

                                                                                tampering, and his
           victims in toe case. rcspecti\ clv, ol I )ciiendants ailcued ndicial

           alleged asaiJ1 on a la\ entureernerit olhcer and resisting arrest.

                                                                                    t to shoot and
    3.     Ii is uneorltru\ erted. ho\e\er. that Sgt. il.J. lolsom used his tirearn
                                                                               ting to ser e art arrest
           gric ouSI\ x ound Defiendant multiple times in the course of attemp

                                                                             s also shot at hut ma\
           warrant on I )efendant on Septemher Ii, 2012. ((‘pr. Scott Merten

           01    nld\      001   tias e struck Delendaiti.

                                                                           Merex I lospital in St. Louis
    4.     Detendant required air lifting to the trauma unit at St. John’s

           ( or       t\


                                                                            the I)elend.tnt as the     ictim of a police
     5.     NI   Ji              tumcnts pi odm ed h inc State rclr    to


                                                                                         ite I lighss ‘is Patrol   ce
            chm tint             he. c ineIud dudumenb created h the \lissouri       I



            eg        I      \ i lighsa Patrol supplemental report          fl
                                                                                                                                                        Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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    6.      FhL ‘ue                  r the mrs       is   not just ss h.’ther the Defendant coinmined the charged ollenses.

            but a*                  i.fier I       ti.’iILIHI’t posed a IlIreal       In    the   t     npe:s    th::i ;.‘dteJ }ieir shuoline

            Def:alai;’                   I has. Defendant needs to he rehrred                         to.   ldetii.d Is tceurate1\, as the s ictlm ot

            a pie           stauliiig in oi der to defend himself’ agaInst the eharpes.

    ‘7.     Accordinel               .   it ssould substantially prejudice I )eldndant not to he rclrred to, factually

            accuraicls as the s ictiin of a police shooting.

    8       1 urtiermora, in his defense a criminal defendant has in “almost unlimited” catalogue of

            peinissible defense arguments After all,                                  it   can only possihls he error           if   the Defendant’s

            argument                     urhed. Set “H hat partie. may argue                                in Dierker. 28 Mo. Prac.. Criminal

            Practice Handbook §29.3 (2013 ed.)

            WI ll,Rl.l( ‘Rh. Defndant pras this C ourt DENY the State’s motion in lirnine, and for

    such other relief as may he just. meet and reasonable.

    Respectful!. suhmiied.
    Attorney Id.        )e;etJaiit




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    nion. M      Oit‘                                        \



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                                                        NMARY
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1.   The vict h’    C       the shooting in thuis incest iqatic:n iS:

      a.   Jeffre          N.   eihaus who       is descrihec                    cS    a white male,              date
           01 ri:u Oct obei               6, L9C6, residiiig t                       23CC Hi Lway K,              St.
           Cl     I: scour i          ,   pnone number 3 14

2    A chronc    ag:   -        cynops:      of        evOnts   i S       IS    CO    I   OWS


      a.   On iscacy, September h, 2012, at approximately 1221
           hours, Missouri StaLe Highway Patrol Division of Drug and
           Crime (‘ntro1 Sergeant H. Folsom and Corporal S. Mertens
           contactd Missouri State Highway Petrol ‘troop C’
           Corninunicat Cons, via Troop I Commuxi cat ions   and requested
           a ‘oad Trooper to ass: ci with the arrest of Jeffrey
           We: rLhaLs     Earlier that day, warrants for ti:e axrst of
           Je::ihacs were rssued cn srankl in County or true cruarges
           of    Poor ‘sc i on of Contrc ild Subs canoe Except 35 gx urns o
           LeSs Mar: jua:la (Pc_any C lass Cn     tamper q w: 1 n JilIlciar
                                                                  ,



           Oh ben      Felony Class C,     and Possession at up t.o 35 grams
           Mar j uan (Mlsterneanor Class A)

      b.   At prcximtely 1228 hours, Missouri State Highway Patrol
           Tr op  Trooper Servers     827, was niqned to assist and
           t c
           con    I S rgoant No. sorn

      c    At   ccci            nc   iy   1 24u heart, Je                                 r:aua      :al_ccd
                                                as C’ tloirhaw                  wa:                      cc the


      d.   A: n:::uroi       y li56 hears    ‘lrcaco Ssvcis contacted
           2: :snua’ :01 san: on soc parking tot c I     he MEA Oil Parkway
                   I  a od t     5c3 Highway K, St. C la:     Missourr                      ,



           ScrgerH Fc Isor: rnformcd rooper Servais           their
                     us anc asked htm to po.    t a th   of their location
           He   1.   asked that   ‘IrOorer Ser’ais  oave  Crprl     Keathiey
           p     : :h       the r lcvation

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                          iN L C1RCt iT COURT OF F RANKI IN (‘01 ‘NTY
                                     SI All 01 MISSOI. RI


    SIAIE OF MISSOURI.
                            Plaintiff.                   Cause No.      I 2AB-CR02409-0 I

              VS                                         l)ivsion No.
                                                         Judge:    Sutherland
    JelTery R Weinhaus                             )
                           Defendant.

                                   S’[A FE’S MOTiON IN IIMINE 2

              COMES NOW, the State of Missouri, by and through Prosecuting Attorney Robert F.

    Parks, and moves that the attorney for the defendant. the defendant. and defense witnesses during

    voir dire, opening statement, presentation of evidence and final arguments shall he instnicted not

    to mention or be pennitted to elicit testimony either direcii or indirectly by question or

    comment the following

    Any reference to I)efendants 13-Tube Videos still being shown on U-Tube,

    Although Defendants L -Tube videos are still being shown on .J-Tube such information is

    irrelevant to these proceedings as the issue before the jury is their effect in August and

    September of 2012. Any reference to their present statue would not be probative to the jury and

    would be out weighted by their prejudicial effect.

    Sustained                              Respectfully submitted.

    1)enicd
                                           /s’ Robert H. Parks

                                           Robert F. Parks- 36333
                                                                                   FliLzU
                                           Prosecuting Attorne                        OCT   -    2313
                                           Counts of Franklin                 BILLD. M L
                                                                                       I
                                                                                       1         .‘:‘




                                           I. men, Missouri 630X4            FRANKLIN CCJifl
                                                                            By
                                             PROOF 01’ SERViCE

     Ihis is to certify that a copy of the ahoxe and foregoing F rnai1ed to the attorney of record
                                              s Robert I.. Parks
                                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
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                                                       )   Case \o. I 2AB-CRO2 109-01
                                                       )
  JI.I FREY R. VEINHAL S.

             Defendant.

        DEFENDANT’S OPPOSITiON TO SlATE’S SECOND MOTION IN LIMINE

         Comes now Defendant Jeffrey R. Weinhaus. by counsel Ilugh A. Eastvood and

  Chnstopher M. Combs. and states as his Opposition to the Stat&s Motion in Limine 2’:

         The Court has already ruled that the jury shall hear the Youtube tiden published .ugust

  17. 2013 entitled The Parts s OveC in nhich the Defendant makes certain statements and also

  certain captions called annotations appear. it is uncontroverted that this ideo as

  disseminated by Google Youtube service, which the court can take judicial notice is a public

  forum available to anyone ‘ith internet access to the ‘world ide ‘web. There is no cc idence that

  the video was mailed or other’w ise specifically directed to Judge Kelly Parker.

         The question for the jury is ‘hether the ideo constitutes judicial tampering ‘with Judge
                                                   ‘




  Kelly Parker under the elements of RSNIo. 565.084 MAI 3d 329.85. The Court has already

  ruled that the subjectic reaction of Judge Kelly Parker is admissible testimony. and thus the

  Court has indicated that the jury is not simply to make an objecti’e ealuation of the speech. but

  also a sutiecthe e’caluation. Whetl ci the speech constitutes judicial tampering is not lust a

  question limited to ujwst and Septeinbet 2012. the jury must determine ‘whether l)efendant’s

  weech “as reasonably calculated to harass Judge Parker and ‘whether the Defendant so acted
                                                                                                                   Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
                               ____




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  ‘ith the purpose to harass Judge Kel l\ Parker in the perlorrnane of the judicial oftIcei s oluic ial

  duties.

            ,\s such, the fact that Google’s \ outuhe ser ice has “I erms Of Ser\ ice” and

  ‘‘Communit’ Guidelines’’. that the    ‘   utuhe   ‘   ideo is still present on the hsite. and   \   hether the

   n estigating trooper contacted Gooale       Youtube in the course 01 his investigation is also a fair

  line of inuir on cross examination. \\ hat’s sauce tar the goose is sauce tar the gander.

            V H EREFORE Defendant JetTre\ R. Weinhaus mo es this Court to 1)1 NY the State’s

  “Motion in Limine 2”. and for such other relief as is just, meet and reasonable.

  Respectfully Submitted.
  :\ttorfley for Defendant

      JJuh .1. Lastu’ood
  I lugh A. Eastood. MIII. ti 62058
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   I he undersigned certifles that on 10 07 2013 (s)he sel’\ ed this document on.
  Robert L. Parks. Ii
  I ranklin Count Prosecuting \tton e’
   I S. ( hurch St,, Room 04
  f nion. MO 63084

     fIzh 1. 1’a,’,iuood
